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                             UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE


KURT BENSHOOF,                                                No. 2:24-cv'-00808-JHC
A.R. W By and Through His Father,
KURT A. BENSHOOF,
                           Plaintiffs ,
V
MARSHALL FERGUSON, et al..
                          Defendants .



MOTION FOR RECONSIDERATION OF COURT ORDERS ISSUED ON OCTOBER 1.
   lma                                                         CT AND
                            CONCLUSION OF LAW
                                    and
   MOTION FOR JURISDICTIONAL DISCOVERY UNDER FRCP 26(d)(1)
       Note for Motion Calendar ORAL HEARING : November 1& 2024
                                     and
                 MOTION TO STRIKE ESPONSE BY PEGGY WU


                                          I.    INTRODUCTION

    In July 2024, Plaintiff was detained with excessive bail amounts of about $750,000.00 pending
trial. During Plaintiff’s current detention, Plaintiff was denied access to paper, writing instruments,
envelopes, internet access and email. Plaintiff’s access to the jail’s sparse law library is severely

restricted, in addition Plaintiff’s life has been threatened - which requires daily “proof of life” calls

to friends, to assistance of counsels - and the jail has been obstructing Plaintiff’s ability to send or
receive mail

    In July and September Plaintiff moved to stay this matter until he is released from jail (Dkt.
30, 34, 41).

    All Defendants filed their opposition to stay the case until Benshoof is released from jail
(Dkt. 42, 43).
    In October 2, 2024, Plaintiff filed a new emergency motion to stay (Dkt. 46) this proceeding
until King County/City of Seattle agents ceased to obstruct PlaintifF’s right to access and petition
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the Court. The fact that King County Defendant(s) Marshall Ferguson1, and Defendant Jessica
Skelton, have construed Plaintiff’s emergency stay motion as one of an indefinite stay, is evidence
that King County agents intend to indefinitely obstruct Plaintiff’s access to the Court.


Motions to Stay

1. On July 15, 2024, NOTICE of Plaintiffs Status was filed by Damon White, Next Friend and
   Assistance of Counsel.2 (Dkt. 30)

2. On July 22, 2024, JUDICIAL NOTICE was filed by Plaintiff’s Next Friend and Assistance of
   Counsel 3Howard Brown. (Dkt. 34)

3. On August 9, 2024, Court issued an ORDER (Dkt. 40) denying to stay the case, for following
     reason:


       “The request for a stay was submitted by a purported “Next Friend,” Howard Brown,
       who says that Plaintiff was incarcerated as of July 21, 2024. But Brown does not
       demonstrate that they are qualified for next-friend status. For example, Brown does
       not show “that they possess some significant relationship with, and is truly dedicated
       to the best interests of,” Plaintiff. See Washington v. U.S. Congress, C15-443-JCC,
       2015 WL 2085607, at *2 (W.D. Wash. May 15, 2015). Thus, the Court DENIES the
       request for a stay without prejudice.”

     See attached EXHIBIT A


4. On September 9, 2024 Plaintiff filed Notice and Motion for Stay. (Dkt. 41).


5. On September 17, 2024, Defendant Skelton filed “DEFENDANT JESSICA A. SKELTON’S
     RESPONSE TO PLAINTIFFS’ MOTION TO STAY PROCEEDINGS” (Dkt. 42).


6.    On September 24, 2024, Defendant Ferguson filed “DEFENDANT MARSHALL


1 Plaintiff Kurt Benshoof filed this action on June 7, 2024, against Defendants Marshall Ferguson,
Blair Russ, Jessica Skelton, Michael Tracy, Sarah Turner, and Jamal Whitehead. (Dkt. #1) all of
whom are sued in INDIVIDUAL CAPACITY ONLY. Yet some of them are represented by KING
COUNTY PROSECUTING ATTORNEY’S OFFICE at public expense without authority.
2 See Faretta v. California and Section 35 of the Judiciary Act of 1789, 1 Stat. 73, 92
3 See Faretta v. California and Section 35 of the Judiciary Act of 1789, 1 Stat. 73, 92
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   FERGUSON’S OPPOSITION TO PLAINTIFF’S MOTION TO STAY” (Dkt. 43).


7. On September 27, 2024, Defendant Ferguson filed “DEFENDANT MARSHALL
   FERGUSON’S MOTION TO DISMISS PURSUANT TO FRC:P 12(b)(6)” (Dkt. 44).


8. On October 1, 2024, Court issued an ORDER (Dkt. 45) denying Plaintiff’s motion to stay (Dkt.
   41). The ORDER states:

      “Before the Court is Plaintiffs’ motion for a stay. Dkt. # 41. The Court has considered
      the materials filed in support of and in opposition to the motion, the rest of the file,
      and the governing law. Being fblly advised, for the reasons presented by Defendants
      at Dkt. ## 42 and 43, the Court DENIES the motion.”
  See attached EXHIBIT B



9. On October 2, 2024, Plaintiff filed “EMERGENCY REQUEST TO STAY THE CASE
   PENDING APPELLANT/PLAINTIFF’S ABILITY TO RESPOND AND FILE IN MOTIONS

   AND RESPONSIVE PLEADINGS” stay (Dkt. 46).


10. On October 4, 2024, Defendant Ferguson filed “DEFENDANT MARSHALL FERGUSON’S

    RESPONSE TO PLAINTIFF’S           SECOND MOTION            TO STAY” incorporating arguments

    from previous motion in opposition for stay 4 (Dkt. 47).


11. On October 7, 2024, Court issued an ORDER (Dkt. 48) denying Plaintiff’s motion to stay (Dkt-
   46). The ORDER states:
      “Before the Court is Plaintiff’s second request for a stay. Dkt. # 46. For the reasons
      presented by Defendant Marshall Ferguson, Dkt. # 47, the Court DENIES the request.”
  See attached EXHIBIT C



                                        JUDICIAL NOTICE
  Allegations made in a pro se complaint are held “to a less stringent standard than formal
pleadings drafted by lawyers.” Haines v Kerner, 404 U.S. 519, 520 (1972). To hold a pro se



4 (Dkt. 43)
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plaintiff to strict compliance “would be inequitable” as courts would punish a pro se plaintiR “R)r
lacking the linguistic and analytical skills of a trained lawyer.” Perez v United States , 312 F.3d

191, 194–95 (5th Cir. 2002). To avoid such a result, “courts have adopted the rule that a pro se
plaintiffs pleadings are liberally construed.” &J. Even though pleadings by a pro se litigant are held
to a less stringent standard, courts must be able to draw the reasonable inference from the pleadings
that the defendant is liable for the misconduct alleged. Ashcroft v. Iqbal, 556 US 662, 678 (2009)
(citing Bell Att. Corp. v Tw ombty, 550 U.S. 544, 556 (2007)).




                    11.    MOTION TO STRIKE ESPONSE BY PEGGY WU


A. vmUful Misconduct

12. Plaintiff Kurt Benshoof moves to strike all filings submitted by Peggy Wu on behalf of
   Defendant Marshall Ferguson as unauthorized. King County Code 2.21.050(B)(1) does not
   authorize Ms. Wu to defend people sued in their individual capacity. It is a violation of RCW
   42.20.070, a class B felony, to “appropriate to the use of any person not entitled thereto, without
   authority of law” public funds. Therefore, Benshoof moves to strike all filings submitted by
   Ms. Wu as not only improper, but evidence of Ms. Wu’s criminal misconduct.


13. King County Code 2.21.050(B)(1) authorizes Ms. Wu to represent KING
   COUNTY–officials,      including sheriff deputies, judges, and other county officials–for acts
   “within the scope of their official duties which were done in good faith, and which the official
   has "no reasonable cause to believe the conduct was unlawful.”



14. Plaintiffs’ complaint is not an official-capacity suit against KING COUNTY. “As long as the

   government entity receives notice and an opportunity to respond, an official-capacity suit is, in
   all respects other than name, to be treated as a suit against the entity.” Kentucky v. Graham,
   473 U.S. 159, 165–66 (1985)




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15. Marshall Ferguson was sued individually for his ultra vires, fraudulent, and criminal acts to
   violate Plaintiffs’ rights under color of law. “The phrase "persons acting under color of law"
   draws on one of the most well-known civil rights statutes: 42 U.S.C. § 1983. That statute applies
   to "person[s] ... under color of any statute," and this Court has long interpreted it to permit suits
   against officials in their individual capacities. See, e.g., Memphis Community School Dist. v.
   Stachura, 477 U.S. 299, 305–306, and n. 8, 106 S.Ct. 2537, 91 L.Ed.2d 249 (1986).” Tanzin v.

   Tanvir, 141 S. Ct. 486, 490-91 (2020)


16. Wash. Const. Art. I § 12 prohibits granting privileges or immunities which do not “equally

   belong to all citizens.” KING COUNTY will not equally provide PlaintiKs with free legal
   representation in federal court. Benshoof previously informed Ms. Wu that allocating KING
   COUNTY funds for the legal representation of individuals would violate Wash. Const. Art. I §
    12. (WAWD No. 2:23-cv-1392-JNW, Dkt. #228)



17. Therefore, Ms. Wu is knowingly violating Wash. Const. Art. I § 12 and RCW 42.20.070 and

   cannot claim good faith or ignorance of the law.


18. Pursuant to 18 U.S.C. § 4, “Whoever, having knowledge of the actual commission of a felony

   cognizable by a court of the United States, conceals and does not as soon as possible make
   known the same to some judge or other person in civil or military authority under the United
   States, shall be fined under this title or imprisoned not more than three years, or both.”



B. ICR 7(g)

19. LCR 7(g) states that “[r]equests to strike material contained in or attached to submissions of
   opposing parties shall not be presented in a separate motion to strike, but shall instead be
   included in the responsive brief, and will be considered with the underlying motion.”


20. Fed.R.Civ.P. 12(f) states that the court “court may strike from a pleading an insufficient defense


21. or any redundant, immaterial, impertinent, or scandalous matter.” Ms. Wu’s Notices (Dkt- ## 14-
    15) are not “pleadings” pursuant to Fed.R.Civ.P. 7(a).
                                           rage 3 ul IJ
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22. Under LCR 7(g) the Court may strike the notices filed by Ms. Wu. Because Ms. Wu is not
   legally authorized to appropriate public funds to the individual capacity defends of Defendant
   Marshall Ferguson, the notices are immaterial, impertinent and evidence of Ms. Wu’s willfully
   scandalous violation of RCW 42.20.070.


23. Pursuant to Fed.R.Civ.P. 12(f), the notice of appearance filed on behalf of Marshall Ferguson
   (Dkt. #14) must be stricken as impertinent, immaterial, and evidence of criminal conduct and
   fraud upon the Court.


24. Federal Rule of Civil Procedure 12(f) authorizes courts to “strike from a pleading an
   insufficient defense or any redundant, immaterial, impertinent, or scandalous matter.”
   Fed.R.Civ.P. 12(f). “Immaterial” matter is that which has no essential or important relationship
   to the claim for relief. Del. Health Care Inc. v. MCD Holding Co., 893 F.Supp. 1279
   (D.Del. 1995).


25. “Impertinent” matter consists of statements that do not pertain, and are not necessary, to the
   issues in question. Cech v. Crescent Hills Coal Co., 2002 WL 31002883, No. 96–2185, at #28

   (W.D.Pa.2002). A “scandalous” matter or pleading is one that casts a derogatory light on
   someone, uses repulsive language, or detracts from the dignity of the court. Carone v. Whalen,
    121 F.R.D. 231, 232 (M.D.Pa.1988). Conklin v. Anthou, No. 1:10-CV-02501, 2011 WL
    1303299, at #1 (M.D. Pa. Apr. 5, 2011)


26. “"The purpose of a motion to strike is to clean up the pleadings, streamline litigation, and avoid
   unnecessary forays into immaterial matters." McInerney v. Moyer Lumber and Hardware, Inc.,

   244 F. Supp. 2d 393, 402 (E.D. Pa. 2002).” Snider for Goldhirsh v. State Farm Fire & Cas. Co.,
   644 F. Supp. 3d 141, 147-48 (E.D. Pa. 2022)


27. Pursuant to 18 U.S.C. § 4, “Whoever, having knowledge of the actual commission of a felony
    cognizable by a court of the United States, conceals and does not as soon as possible make
   known the same to some judge or other person in civil or military authority under the United
    States, shall be fined under this title or imprisoned not more than three years, or both.”

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    111.    Plaintiff Has No Record Of Process Of Service Upon: Russ, Tracy, Turner,
            Whitehead, J. Doe


28. Plaintiff has no record of process of service for Defendants Blair M. Russ, Michael Tracy, Sarah
   Turner, Jamal N. Whitehead, J. Doe, all sued in their individual capacities.


29. Plaintiff received Summons to be served upon Defendants Blair M. Russ, Michael Tracy, Sarah

   Turner, Jamal N. Whitehead, J. Doe, but had no one willing to serve the summons’ and the US
   District Court was not going to issue service to be effectuated by US Marshal Service.


30. Plaintiff sent two copies of the complaint and two copies of summon by mail to the defendants

   and two copies of the waiver of service forms.


31. Plaintiff also mailed same to the Department of Justice, as per the address that was provided to
   Plaintiff for Defendant Whitehead.



32. And while Plaintiff was waiting for their response, Plaintiff was arrested and put in jail.


33. Plaintiff who continues to be kept in jail - in violation of his eighth amendment right- has no
   knowledge whether the Defendants Blair M. Russ, Michael Tracy, Sarah Turner, Jamal N.
    Whitehead, J. Doe, had mailed their waiver of service forms back to Plaintiff, and whether the
    waiver of service forms are sitting in Plaintiff’s mailbox.




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                              IV.      ARGUMENT AND AUTHORITY

       1.        A stay is warranted

       In Labrador v Poe by & through Poe, 144 S. Ct. 921, 922–23, 218 L. Ed. 2d 400
(2024) the SCOTUS explained that considering a stay, the Court must ask:

    ( 1) whether the stay applicant has made a strong showing that it is likely to succeed on the

    merIts,

    (2) whether it will suffer irreparable injury without a stay,
    (3) whether the stay will substantially injure other parties interested in the proceedings,
    and

    (4) where the public interest lies.


       (1) To any extent that Plaintiff has failed to make a strong showing that his claim is likely
to succeed on the merits, pro se Plaintiff has not yet been able to amend his Complaint. “[S]tripped

of free access to the courts”, Plaintiff has been forced to enlist the assistance of multiple
individuals outside the jail, in order to access legal research, has to dictate filings to these
individuals, and has to even enlist outside-jail assistance to be able to file documents into the
Court (locket. Wimberly y Rogers, 557 F.2d 671, 673 (9th Cir. 1977)
       (2) Without a stay pending King County/City of Seattle agents’ cessation of obstructing
Plaintiff’s ability to effectively litigate this case, Plaintiff will suffer “irreparable injury” as
Plaintiff will be denied his first amendment right to seek redress of his grievances. E:trod v Burns ,
427 U,S_ 347, 373, 96 S. ct. 2673, 2690, 49 L. Ed. 2d 547 (1976)
       (3) As evidenced in King County defendants’ and other defendants’ inability to articulate
why a stay would be prejudicial in any manner, the stay will not substantially injure other parties
interested in the proceedings; and
       (4) There is a “public interest in Government observance of the Constitution and laws” -
in this case, Plaintiff’s right to seek redress of his grievances without King County/City of Seattle
agent-obstruction. Lujan v Defs. of Wildlife , 504 U.S. 555, 576, 112 S. Ct. 2130, 2145, 119 L. Ed.

2d 351 (1992).
   Defendant Jessica Skelton asserts that Plaintiff did not request “leave ro amend the complaint”
in response to August 9, 2024, Court Order granting, Defendant Skelton’s motion to dismiss the

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claims against her. “Plaintiffwas incarcerated at that time and Ms. Skelton is unaware ofwhether
he has received and reviewed a copy of that Order ?’ (Dkt. 42)

       Plaintiff did not respond because his access to the court was obstructed.      5




                             V.      JURiSDICTIONAL DISCOVERY

    2. Defendants claim that Benshoof has failed to demonstrate a clear case of hardship

DEFENDANT JESSICA A. SKELTON makes following claim(s):

       “Plaintiff has been able to file documents with this Court and participate in his case. In
       addition, it appears he has been able to conduct legal research while incarcerated as
       evidenced by the numerous legal citations in his motion” (Dkt. 42)

DEFENDANT MARSHALL FERGUSON makes following claim(s):

       “Many incarcerated individuals are able to litigate their claims in federal court. Although
       Plaintiff claims that he is unable to write or file documents in this case, he was able to file
       documents with this Court, including the motion to stay. His motion to stay contains legal
       citations, demonstrating his ability to conduct legal research while in custody. Plaintiff has
       not demonstrated sufficient legal basis to stay this lawsuit indefinitely.” (Dkt. 43)


      3. Defendants Question Benshoof’s Right to Assistance of Counsel

DEFENDANT MARSHALL FERGUSON makes following claim(s):
       “The non-parties and the public do not have a particular interest in these proceedings,
       except for the general interest in expeditious litigation.” (Dkt. 43)


       4.      Plaintiff has the right to assistance of counsel
Even after King County/City of Seattle agents have erected monumental obstructions to Plaintiff’s

free access to the court, King County defendants now seek to completely         strip Plaintiff’s   access

to the Court by covertly moving the Court to deny Plaintiff’s emergency stay motion because it




5 As evidenced from the docket – Plaintiff has not been able to respond to numerous filings by
the Defendants due to being held in prison incommunicado and in violation of eighth amendment

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was typed and filed into the docket on Plaintiff’s behalf by Plaintiff’s assistance of counsels and
next friends , friends of court: Damon White, Howard Brown and Uwe Maggitti.


       5. United States Supreme Court acknowledges an established historical fact
  In 1975 in Faretta v California, United States Supreme Court acknowledges an established
historical fact: “Section 35 of the Judiciary Act of 1789, 1 Stat. 73, 92, enacted by the First
Congress and signed by President Washington one day before the Sixth Amendment *813 was
proposed, provided that 'in all the courts of the United States, the parties may plead and manage
their own causes personally or by the assistance of such counsel . . ..’ The right is currently
codified in 28 U.S.C. s 1654.”6


       6. Judiciary Act of 1789, 1 Stat. 73, 92
  The Court quoted from Section 35 of the Judiciary Act of 1789, 1 Stat. 73, 92 which states as
follows:

      “SEC. 35. And be it farther enacted, That in all courts of the United States, the parties
      may plead and manage their own causes personally or by assistance of such
      counsel or attorneys at law” 7

   Judiciary Act of 1789 was passed before ratification of the Sixth Amendment in the
Bill of Rights in 1791. The drafters of the Sixth Amendment had deliberately removed the word
attorneys ar law from the Sixth Amendment, and substantially amended the language to read:
“right to have the Assistance of Counsel.”




       7. F.R.C.P. Rule 26(b)(1)
       “A trial court must manage the discovery process in a fashion that promotes “full
disclosure of relevant information while protecting against harmful side effects.” Kramer v J.I,




6 Faretta v. California, 422 U.S. 806, 812–13, 95 S. Ct. 2525, 2530, 45 L. Ed. 2d 562 (1975)
7 “The Judiciary Act; September 24, 1789, 1 Stat. 73. An Act to Establish the Judicial
Courts of the United States.” “APPROVED , September 24, 1789.”
https://avalon.law.yale.edu/1 8th_century/judiciary act.asp
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Case Mfg. Co., 62 Wash. App. 544, 556, 815 P.2d 798 (1991).” Gillett v. Conner, 132 Wash. App.
818, 822, 133 P.3d 960, 962 (2006)


       “CR 26(b)(1) provides a broad definition of relevancy. “Parties may obtain discovery
regarding anY matter, not privileged, which is relevant to the subject matter involved in the
pending action.”” Gillett v Conner, 132 Wash. App. 818, 822, 133 P.3d 960, 962 (2006)


       “The general scope of discovery is defined by Fed. Rule Civ. Proc. 26(b)(1) as follows:
             “Parties may obtain discovery regarding any matter, not privileged, which is
      relevant to the subject matter involved in the pending action, whether it relates to the claim

      or defense of the party seeking discovery or the claim or defense of any other party ....” The
      key phrase in this definition–“relevant     to the subject matter involved in the pending

      action”–has been construed broadly to encompass any matter that bears on, or that
      reasonably could lead to other matter that could bear on, any issue that is or may be in the
             99
      case

In re Williams-Sonoma, Inc. , 947 F.3d 535, 539 (9th Cir. 2020)


   “Rule 26(b), the rule would give the prisoner a right to inquire into 'any matter, not privileged,
which is relevant to the subject matter involved in the pending action,’ whether
admissible at trial or not. This rule has been generously construed to provide a great deal of
latitude for discovery. See Hickman v. Taylor, supra, at 507, 67 S.Ct. 385; 2A Barron & Holtzoff,
supra, s 646.” Harris v Nelson, 394 U.S. 286, 297, 89 S. Ct. 1082, 1089, 22 L. Ed. 2d 281 (1969)


       8. Due Process Right To Discovery
 Benshoof has due process right to discovery in the matter which is relevant to the subject matter
involved in the pending action, in the two issues raised by Defendants:
       1. Claim that Benshoof has no right to have his pleadings be filed by someone other than
          himself, when Benshoof is literally held incommunicado by the King County/City of
          Seattle agents.

       2. Claim that it is unclear whether Benshoof assertions that he has no access to a
          computer, internet or email are true.

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   “In the Ninth Circuit "’[a] district court is vested with broad discretion to permit or deny
Durisdictional] discovery.’ Such discovery 'should ordinarily be granted where pertinent facts
bearing on the question of jurisdiction are controverted or where a more satisfactory showing of
the facts is necessary.8’"” Sherman v Boone , No. 5:14-cv-01064-PSG, at 84 (N.D. Cal. August
22, 2014)

   “The Court has broad discretion to permit jurisdictional discovery, which "should ordinarily
be granted where pertinent facts bearing on the question of jurisdiction are controverted or where

a more satisfactory showing of the facts is necessary." Butcher's Union Local No. 498 v. SDC
Investment, Inc., 788 F.2d 535, 540 (9th Cir. 1986) (quotation omitted).” ZTE (U.S.) Inc. v Agis
Software Dev. LLC , No. 18-cv-06185-HSG, at #11 (N.D. Cal. September 12, 2019)


       9. Statements of counsel while enlightening to the Court are not sufficient
   "The defendants’ motion to dismiss for failure to state a claim unsupported by affidavits or
depositions is incomplete because it requests this Court to consider facts outside the record which
have not been presented in the form required by Rules 12(b)(6) and 56(c). 2 Statements of counsel
in their briefs or argument while enlightening to the Court are not sufficient for purposes of
granting a motion to dismiss or summary judgment." Trinsev u Pagliaro, 229 F. Supp. 647


       10. Benshoof’s continued unlawful detention and incarceration

 Plaintiff Benshoof was unlawfully arrested by defendant City of Seattle on July 3, 2024.
Benshoof continues to be unlawfully detained and is currently incarcerated and held in King
County Correctional Facility – Seattle, since July 3, 2024, without ability for bail, in violation of
Eighth Amendment.


    Malicious criminal prosecution and persecution has been brought against Appellant
Benshoof in two courts simultaneously/concurrently :

       A) MUNICIPAL COURT FOR THE CITY OF SEATTLE
          CITY OF SEATTLE v. KURT BENSHOOF



8 Lamb v. U.S. Dep't of the Interior , 342 F.3d 1080, 1093 (9th Cir. 2003)


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           Case Nos: 676492, 676463, 676216, 676207, 676175, 675405, 671384, 656748.

       B) SUPERIOR COURT, KING COUNTY, WASHINGTON
          STATE OF WASHINGTON v. KURT BENSHOOF
          CASE: 24- 1-02680-7 SEA



        11. King County Defendant(s) Represented by Prosecution Attorney’s Office
            holding Benshoof illegally incarcerated
  Defendant MARSHALL FERGUSON are/is represented by PEGGY WU, WSBA #35941,
Senior Deputy Prosecuting Attorney at the King County Prosecuting Attorney’s Office.
  Same Prosecuting Attorney’s Office which is holding Benshoof in violation of his
constitutionally protected rights, and obstructing Benshoof s right to Franks Hearing. Plaintiff
Benshoof hereby incorporates by reference the facts set forth in the:
“DEFENDANT’S NOTICE OF MOTION for “ FRANKS HEARING” AND MOTION TO VOID
WARRANT, SUPPRESS EVIDENCE, AND DISMISS CHARGES FOR LACK OF PROBABLE

CAUSE” filed into KING COUNTY SUPERIOR COURT case No. 24-1-02680-7 SEA, search
warrant executed by SPD: 24-0-62121-3 SEA, as if set forth herein full, and all the attached
exhibits, and all footnotes in this action, with the same force and effect as if herein set forth. See
attached EXHIBIT D



       12.       Scheduling for Oral Hearing on F.R.C.P. Rule 26(b)(1)
 Plaintiff Benshoof is hereby scheduling this motion for Oral Hearing for the Jurisdictional
Discovery, for November 13, 2024.


       13.    King County Prosecuting Attorney’s Office to make arrangements for
              Benshoof transfer from jail for the scheduled Oral Hearing on F.R.C.P.
              Rule 26(b)(1)
   Plaintiff Benshoof is hereby moving the court to order the King County Prosecuting
Attorney’s Office to make immediate arrangement for the transportation for Plaintiff Benshoof
from King County Correctional Facility to be personally present at the oral hearing under F.R.C.P.
Rule 26(b)(1).



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            VI.    MOTION FOR FINDING OF FACT ANDCONCLUSION OF LAW

   On July 3, 2024, Plaintiff was detained with excessive bail amounts of about $750,000.00
pending trial. During Plaintiff’s current detention, Plaintiff was denied access to paper, writing
instruments, envelopes, internet access and email. Plaintiff’s access to the jail’s sparse law library
is severely restricted, in addition Plaintiff’s life has been threatened - which requires daily “proof
of life” calls to friends, to assistance of counsels - and the jail has been obstructing Plaintiff’s

ability to send or receive legal mail.
    Plaintiff Benshoof is currently incarcerated and held in King County Correctional Facility
– Seattle, since July 3, 2024, without ability for bail, in violation of Eighth Amendment.
    Plaintiff is being held incommunicado, with no access to pen, paper, nor envelopes. Plaintiff’s

legal mail is being withheld and unreasonably delayed.


   In order for Plaintiff to properly draft his motion for reconsideration, and for the upcoming
appeal, Plaintiff needs to know the following:

    1) FIND[NGS OF FACT AND CONCLUSIONS OF LAW stating what law did the court
         apply to the facts before the court – as pleaded via emergency motions, filed under unusual
         circumstances (Dkt. 349 419 46) - in its Orders when the Court denied Plaintiff’s Motions
         to Stay in its August 9, 2024. (Dkt. 40), and on October 1, 2024, (Dkt. 45), and on October
         7, 2024, (Dkt. 48).

    2)   Plaintiff has to get access to pen, paper and envelopes, at the barest minimum. Plaintiff
         must also be able to receive and mail out all legal mail without any obstruction or
         unreasonable delay.



No state 'shall deprive ally person of life, liberty, or property without due process of law”

  “The fourteenth amendment, in declaring that no state 'shall deprive any person of life, libertY>
or property without due process of law, nor deny to any person within its jurisdiction the equal

protection of the laws,’ undoubtedly intended not only that there should be no arbitrarY depnvatlon
of life or liberty, or arbitrary spoliation of property, but that equal protection and securitY should
be given to all under like circumstances in the enjoyment of their personal and civil rights; that all
persons should be equally entitled to pursue their happiness, and acquire and enjoY propertY; that
they should have like access to the courts of the country for the protection of their persons and

                                            Page 14 of 23
     Case 2:24-cv-00808-JHC           Document 50        Filed 10/30/24      Page 15 of 105




property, the prevention and redress of wrongs, and the enforcement of contracts; that no
impediment should be interposed to the pursuits of any one, except as applied to the same pursuits
by others under like circumstances; that no greater burdens should be laid upon one than are laid
upon others in the same calling and condition; and that in the administration of criminal justice no
different or higher punishment should be imposed upon one than such as is prescribed to all for
like offenses. “ Barbier v. Connolly , 113 U.S. 27, 31, 5 S. Ct. 357, 359, 28 L. Ed. 923 (1884)


Holation of substantive due process rights
Plaintiff is being held incommwnicado
  Plaintiff is being held incommtmicado without access to pen, paper and envelopes. Plaintiff’s
legal mail is deliberately obstructed and unreasonable delayed. Plaintiff has the first amendment
right to access court and to prosecute his case(s) without any obstruction by the state, the justice
system and the court’s.

    PlaintiffBenshoof has demonstrated in his emergency motions to stay, that interference with
the plaintiffs protected right is “ ' so shocking, arbitrary, and egregious that the Due Process
Clause would not countenance it ?’


   “To establish a violation of substantive due process rights, a plaintiff must demonstrate that the

state action was 'so egregious, so outrageous, that it may fairly be said to shock the
contemporary conscience.’ #152 ” Okin, 577 F.3d at 431 (quoting Lewis, 523 U.S. at 847 n. 8,
118 S.Ct. 1708). The interference with the plaintiffs      protected right must be “ 'so shocking,
arbitrary, and egregious that the Due Process Clause would not countenance it even were it
accompanied by full procedural protection.’       ” Anthony, 339 F.3d at 143 (quoting Tenenbaum,
193 F.3d at 600); see also Lewis, 523 U.S. at 840, 118 S.Ct. 1708 (doctrine of substantive due
process “bar[s] certain government actions regardless of the fairness of the procedures used to
implement them” (internal quotation marks omitted)).” Southerlaytd u City of New York, 680 F.3d
127, 151–52 (2d Cir. 2012)


   “To establish a substantive due process claim, Plaintiffs must “show a government deprivation

of life, liberty, or property.” Nunez v. City of Los Angeles, 147 F.3d 867, 871 (9th Cir. 1998).


                                           Page 15 of 23
      Case 2:24-cv-00808-JHC           Document 50           Filed 10/30/24   Page 16 of 105




   Plaintiff Benshoof has shown that the government has and continues to deprive Benshoof’s
liberty, and now the federal judge attempts to deprive Benshoof of his first amendment right to
access court for redress of grievances – in violation of substantive due process !


JUDICIAL ACCOUNTABILITY

   In the American legal system, disclosure of a court’s reasoning in published opinions is both
how the judiciary asserts its authority and the means through which it is monitored and controlled.9

  The signed [ORDER] is the primary instruments for holding appellate judges and justices
accountable, because they are the sole chronicle of their work.10

   Accordingly, the individualized method of delivering appellate decisions promotes sound, well-
reasoned opinions and provides the transparency that is fundamental to the credibility of the courts

and to the accountability   of their individual members.11

    Nevertheless, when judges sign opinions, they publicly take responsibility for the opinions’



9 See MITCHEL DE S.-0.-L’E. LASSER, JUDICIAL DELIBERATIONS: A COMPARATIVE
ANALYSIS OF JUDICIAL TRANSPARENCY AND LEGITIMACY 312 (2004) (“American
judicial accountability and control are . . . produced . . . by requiring the public disclosure of
judicial discourse and reasoning.”); SANDRA DAY O’CONNOR, THE MAJESTY OF THE
LAW: REFLECTIONS OF A SUPREME COURT JUSTICE 24 (2003) (asserting that the power
of the Supreme Court to make binding law via judicial decisions is possible only through the
publication and distribution of those decisions); see also Edward Lazarus, The Supreme Court’s
Excessive Secrecy: Why it Isn’t Merited, FINDLAW (Sept. 30, 2004), http://writ.
news.findlaw.com/lazarus/20040930.html (“Unless we achieve some window into the Court’s
 internal decision making, we have no way of evaluating whether the Court is, in fact, living up to
 [its1 constitutional trust.”).
 10 See, e.g., Maurice Kelman, The Forked Path of Dissent, 1985 SUP. CT. REV. 227, 241-42.
 “[o]ur system of appellate justice still lodges responsibility for decisions in the individual judges
 who compose the tribunal rather than in the court as a bloodless abstraction. Certainly, where
 appellate judges are subject to periodic reelection or reappointment, the data for appraising an
 incumbent’s worth come from his recorded votes and opinions. As for judges who hold lifetime
 tenure, the publication ofdissents and separate opinions is a safeguard against arbitrary or slipshod
 decision making by fellow judges.”
 11 See LASSER, supra note 70, at 302 (“[T]he American system is the only one that presents
 individually signed judicial decisions, discloses the votes of the sitting judicial panels, and/or
 offers the publication of concurring and dissenting opinions. It . . . offers direct access to the
 arguments and reasoning of the individual judges sitting in judgment on particular disputes.”);
 Fisk, supra note 86, at 73 (noting that transparency motivates people to conform their conduct to
 accepted norms in order to avoid blame, as well as to receive credit)
                                             Page 16 of 23
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contents and consequences.12

  This work product and its attendant reputational effect are the only means, other than
impeachment, to hold unelected judges accountable.13 As then-Circuit Judge Ruth Bader Ginsburg
remarked:14

    “Disclosure of votes and opinion writers may nourish a judge’s ego, his or her sense of
    individuality; but if our system affords the judge personal satisfaction, it also serves to
    hold the individual judge accountable.”

  Judges are held accountable individually through the signed opinion, which ensures diligent
effort, consistency, and fidelity to the law.

   Consequently the author of those decisions must be identified for the public and the legal
profession to have an accurate understanding of the law and to frame legal arguments effectively. 15
            “Every case decided is a check upon the judge.”
            5 U.S. (1 Cranch) iii (1804).16




12 See Ginsburg, supra note 87, at 140. For example, Justice Blackmun was still targeted by people
unhappy with the outcome of Roe v. Wade sixteen years after he wrote the opinion. Id.
13 Scalia, supra note 90, at 34 (citing Donald G. Morgan, The Origin of Supreme Court Dissent,
10 WM. & MARY Q. 353, 354-55 (1953) (citing THOMAS JEFFERSON, WORKS 249 (P.L.
Ford ed., 1905) (relating Jefferson’s concern that impeachment and individual are the only checks
on judges))); see Kelman, supra note 85, at 242 (“[R]ecorded . . . opinions . . . safeguard against
arbitrary or slipshod decision[s] . . . by [tenured] judges.”).
 Judicial attribution creates a situation that is similar to both scholarly attribution and trademark.
See Fisk, supra note 86, at 61-62 (discussing the connection between the quality of work and
reputational effects); William M. Landes & Richard A. Posner, Trademark Law: An Economic
Perspective, 30 J.L. & ECON. 265, 269-70 (1987) (describing how trademarks encourage
investments in quality).
14 Ruth Bader Ginsburg, Remarks on Writing Separately, 65 WASH. L. REV. 133, 139 (1990).
Judge Ginsburg went on to state, “Public accountability through the disclosure of votes and opinion
authors puts the judge’s conscience and reputation on the line.” Id. at 140 (citing Kelman, supra
note 85, at 241); see LASSER, supra note 70, at 312-13 (citing Duncan Kennedy, Freedom and
Constraint in Adjudication: A Critical Phenomenology, 36 J. LEGAL EDUC. 518, 528-30 (1986))
(suggesting that judges’ reputations may be affected by their attributed opinions).
15 HIDING BEHIND THE CLOAK OF INVISIBILITY: THE SUPREME COURT AND PER
CURIAM OPINIONS Ira P. Robbins. Barnard T. Welsh Scholar and Professor of Law and Justice,
American University, Washington College of Law. A.B. University of Pennsylvania; J.D. Harvard
University.
16 William C:ranch, the second reporter for the Supreme Court, wrote in the preface to his first
volume
                                              Page 17 of 23
      Case 2:24-cv-00808-JHC            Document 50       Filed 10/30/24      Page 18 of 105



 STATEMENT OF THE GROUNDS OF DECISION

  According to Justice William J. Brennan, this is so because the courts: “have a duty to explain
[in their decisions] why and how a given rule has come to be.”17
   Accordingly, the individualized method of delivering appellate decisions promotes sound, well-
reasoned opinions and provides the transparency that is fundamental to the credibility of the courts
and to the accountability of their individual members.18

   The principle behind Findings of fact and Conclusion of Law is confined to findings that are
true and genuine findings of fact. 19

  A "holding" of a case declares the conclusion of law reached by the court as to the legal effect
of the facts disclosed. 20

  Generally, a decision of a [trial] court must contain some statement indicating that it has
expressly addressed a question of law within the four corners of the opinion itself for the appeal’s

court to have subject matter jurisdiction to review the case. 21
      “We have repeatedly emphasized the importance of a statement of the grounds
      of decision, both as to facts and law, as an aid to litigants and to this Court”
      Pub. Sew. Commtn v. Wis. Tel. Co., 289 U.S. 67, 69 (1933)

   “Our cases, too, direct compliance with the requirement. Although we have not visited this
precise issue recently, we have frequently held that the failure to enter written findings and
conclusions following a criminal bench trial requires remand for entry of findings and conclusions,
and we have refused to address issues raised on appeal in the absence of such findings and
conclusions. E.g., State v Russell, 68 Wash.2d 748, 415 P.2d 503 (1966); State v Marchand, 62
Wash.2d 767, 384 P.2d 865 (1963); State v Helset, 61 Wash.2d 81, 377 P.2d 408 (1962); City of
Seattle v Silverman, 35 Wash.2d 574, 214 P.2d 180 (1950).” State v. Head, 136 Wash. 2d 619,
624, 964 P.2d 1187, 1190 (1998)



17 William  J. Brennan, Jr., in Defense of Dissents, 37 HASTINGS L. J. 427, 435 (1986). Justice
Brennan went on to assert that this duty serves as a check on the judiciary analogous to the electoral
process in the political branches. Id.
18 See LASSER, supra note 70, at 302
19 Borough of Ambler v. Shepherd, 443 Pa. 375, 278 A.2d 886 (1971); Williams v. H. E. Stoudt
& Son, Inc., 404 Pa. 377, 172 A.2d 278 (1961)
2c) Sizemore v. Continental Cas. Co., 2006 OK 36, 142 P.3d 47 ( C)kIa. 2006)
21 Gandy v. State, 846 So. 2d 1 141 (Fla. 2003).
                                           Page 18 of 23
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- PlaintiffBenshoof is severely prejudiced by the court’s lack of finding of fact and conclusion of
law, Plaintiff is unable to draft proper motion for reconsideration and is prejudiced in his eventual
upcoming appeal.


 All Court’s are bound by the US Supreme Court decisions
“It is this Court's responsibility to say what a [federal] statute means, and once the Court has
spoken, it is the duty of other courts to respect that understanding of the governing rule of law.”
Nitro–Lift Technologies, L.L.C. v. Howard, 568 U.S. –,          –,    133 S.Ct. 500, 503, 184 L.Ed.2d

328 (2012) (per curiam ) (quoting Rivers v. Roadway Express, Inc., 511 U.S. 298, 312, 114 S.Ct.
1510, 128 L.Ed.2d 274 (1994) (internal quotation marks omitted)). And for good reason. As Justice
Story explained 200 years ago, if state courts were permitted to disregard this Court's rulings on
federal law, “the laws, the treaties, and the constitution of the United States would be different in

different states, and might, perhaps, never have precisely the same construction, obligation, or
efficacy, in any two states. The public mischiefs that would attend such a state of things would be
truly deplorable.” Martin v. Hunter's Lessee, I Wheat. 304, 348, 4 L.Ed. 97 (1816).” James n City
of Boise, Idaho, 577 U.S. 306, 307, 136 S. Ct. 685, 686, 193 L. Ed. 2d 694 (2016)


First Amendment Right
  PlaintiffBenshoof has the right to access court for redress of grievances, has the right to due
process in litigating his actions in all courts, regardless of the level of the court, and all Court’s
are duty bound to apply all laws equally, including in relation to PlaintiffBenshoo£

   “When laws fail to provide explicit standards for those who apply them, they impermissibly
delegate basic policy matters for resolution on ad hoc and subjective basis, in violation of due

process. U.S. Const. Amend. 14.” Butcher      % Knudsen,     38 F.4th 1163 (9th Cir. 2022)


     "[D]ue process is flexible," the Supreme Court tells us, "and calls for such procedural
protections as the particular situation demands.” Morrissey v. Brewer, 408 U.S. 471, 481 (1972).




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      Case 2:24-cv-00808-JHC             Document 50         Filed 10/30/24       Page 20 of 105




                                           CONCLUSION
        For the foregoing reasons, Plaintiff respectfully moves the Court to grant Plaintiff’s
emergency stay motion, and oral hearing under F.R.C.P. Rule 26(b)(1) on November 18, 2024, and
order the King County Prosecuting Attorney’s Office to arrange transportation for Plaintiff to be
personally present at the oral hearing on November 18, 2024.
        Plaintiff Benshoof further moves the court to issue Findings Of Fact And Conclusions Of
Law on what basis did it issue the Orders Denying Motion To Stay on October 1, 2024, and
October 7, 2024.

RESPECTFULLY SUBMITTED,




                                       Kurt Benshoof, Plaintiffpro se
                                       1716 N 128th Street
                                       Seattle. WA 98133
                                       King County Correctional F acility
                                       Seattle22
                                       B/A 2024-008067, UCN# 105 18097
                                       500 Fifth Ave.. Seattle. WA 98104
                                       East - Lower B - 9th Floor - Cell #6
                                       Email: kurtbenshoofl @ lail.com
                                                  [no access to internet/email]

  The foregoing statements of fact were typed up by the undersigned, upon Mr. Kurt Benshoof s
request and to the best of the undersigned's underst



Signature
            /URVE MAG                        b–gml ail.com
                                                              Date   aaad£ ,„'7


22 Subject to change without notice, mail delivery [send/receive] not guaranteed.
23 See For etta v. California   and Section 35 of the Judiciary Act of 1789, 1 Stat. 73, 92
                                             Page 20 of 23
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                                              AFFIDAVIT

   The foregoing were typed up by the undersigned, upon Mr. Benshoof s request and to the best
of the undersigned’s understanding.24

    Federal and State Constitutions require that criminal prosecutions conform to prevailing
notions of fundamental fairness and that criminal defendants be given a meaningfUI opportunity to
present a complete defense. State v Wittenbarger, 124 Wn. 2d 467 , 474–75 , 880 P 2d 5/ 7 (1994),


   Mr. Benshoof is being held incommunicado without access to pen, paper and envelopes.
Appellant’s legal mail is deliberately obstructed and unreasonably delayed. Mr. Benshoof has the
first amendment right to access all court and to litigate/prosecute his case(s) without any
obstruction by the state, the justice system nor the court’s.

    In 1975 in Faretta v California, United States Supreme Court acknowledges an established
historical fact: “Section 35 of the Judiciary Act of 1789, 1 Stat. 73, 92, enacted by the First
Congress and signed by President Washington one day before the Sixth Amendment *813 was
proposed, provided that 'in an the courts ofthe United States, the parties may plead and manage
their own causes personally or by the assistance of such counsel . . ..’ The right is currently
codifIed in 28 U.S.C. s 1654. ”25


    The Court quoted from Section 35 of the Judiciary Act of 17891 1 Stat. 731 92 which states as follows:

       “SEC. 35. And be it further enacted, That in all courts of the United States, the parties may
       plead and manage their own causes personally or by assistance of such counsel or
       attorneys at law” 26

   Judiciary Act of 1789 was passed before ratification of the Sixth Amendment in the Bill of Rights in
1791. The drafters of the Sixth Amendment had deliberately removed the word attorneys at law from the
Sixth Amendment, and substantially amenga the language to read: “right fo aave Me Assistance of
Counsel.„                 Z _ d / M/                                      _
                                                                      ma /6.
                                                                              .


Signature:              Mg Ft/tAg/                            Date:

                                      MAGGITTI / urve.maggitt: @gmail.com



24 See Faretta v. California and Section 35 of the Judiciary Act of 1789, 1 Stat. 73, 92
25 Faretta v. California, 422 U.S. 806. 812–13, 95 S. Ct. 2§25, 2530, 45 L. Ed. 2d 562 (1975)
26 “The Judiciary Act; September 24, 1789, 1 Stat. 73. An Act to Establish the Judicial Courts of
the United States.” “APPROVED , September 24, 1789.”
https://avalon.law.yale.edu/18th_century/judiciary act.asp
                                          Page 21 of 23
          Case 2:24-cv-00808-JHC   Document 50   Filed 10/30/24          Page 22 of 105




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                                                    Commonwealth of Pennsylvania - NotarY Seal
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                                                            Montgomery County

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                                                    Member, Pennsylvania Association of Notaries




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     Case 2:24-cv-00808-JHC           Document 50        Filed 10/30/24      Page 23 of 105



                                  CERTIFICATE OF SERVICE

Petitioner hereby certifies that the foregoing motion will be send to all counsel of record, to the
addresses listed below.

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Senior Deputy Prosecuting Attorney
King County Prosecuting Attorney’s Office, Civil Division
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Urve Maggitti, “next friend” and "assistance of counsel" 27 to Mr. Kurt Benshoof under as per
Judiciary Act of 1789, 1 Stat. 73, 92.
urve.maggitti@gmail.com

Howard Brown, “next friend” and "assistance of counsel" to Mr. Kurt Benshoof under as per
Judiciary Act of 1789, 1 Stat. 73, 92
1003 W. Michigan St. Hammond, LA 70401


Damon White, “next friend” and "assistance of counsel" to Mr. Kurt Benshoof under as per
Judiciary Act of 1789, 1 Stat. 73, 92
206-601-1126




” r,„, a, „ C,IiI,r„i,,   422 U.S. 806, 812–13, 95 S. Ct. 2525, 2530, 45 L. Ed. 2d 562 (19751
“The Judiciary Act; September 24, 1789, 1 Stat. 73. An Act to Establish the Judicial Courts of the
United States.” “APPROVED , September 24, 1789.”
https://avalon.law.yale.edu/18th century/judiciary„ act.asp
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 EXHIBIT A
         Case 2:24-cv-00808-JHC Document 50 Filed 10/30/24 Page 25 of 105
            Case 2:24-cv-00808-IHC Document 40 Filed 08/09/24 Page 1 of 2




 I


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 5
                                 UNITED STATES DISTRICT COURT
 6                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 7

 8
     KURT BENSHOOF, ARW, By and
     Through His Father, KURT A. BENSHOOF,                    No. 2:24-cv-00808-JHC
 9


10                                        Plaintiffs,         ORDER

11          V.

12
     MARSHALL FERGUSON, et al. ,
13
                                       Defendants.
14

15          This matter comes before the Court on a request for a stay, Dkt. # 34, Defendant Jessica

16
     A. Skelton’s Motion to Dismiss under Federal Rule of Civil Procedure 12(b)(6), Dkt. # 27, and
17
     Defendant Jessica Skelton’s Motion for Rule 11 Sanctions and Pre-Filing Restrictions, Dkt. # 32.
18
     The Court has reviewed the request and motions, the balance of the case file, and the governing
19
     law. Being fully advised, the Court rules as follows.
20

21           1. Request for stay

22          The request for a stay was submitted by a purported “Next Friend,” Howard Brown, who

23   says that Plaintiff was incarcerated as of July 21, 2024. But Brown does not demonstrate that

24
     they are qualified for next-friend status. For example, Brown does not show “that they possess
25
     some significant relationship with, and is truly dedicated to the best interests of,” Plaintiff.   See
26
     Washington ?. U.S. Congress, C15-443-JCC, 2015 WL 2085607, at :$2 (W.D. Wash. May 15,
27
     ORDER - 1
     Cause No. 2:24-cv-00808-JHC
         Case 2:24-cv-00808-JHC Document 50 Filed 10/30/24 Page 26 of 105
           Case 2:24-cv-00808-JHC Document 40 Filed 08/09/24 Page 2 of 2




 1   2015). Thus, the Court DENIES the request for a stay without prejudice.

 2          2. Motion to dismiss
 3
            For the reasons set forth in Skelton’s motion, the Court DISMISSES the claims against
 4
     Skelton without prejudice. As presented thus far, the claims clearly lack any merit. Plaintiff
 5

     may seek leave to amend the complaint with respect to the claims against Skelton.
 6

            3.   Motion for sanctions and pre-filing restrictions
 7

 8          The Court DENIES the motion without prejudice. Skelton may renew this motion if and

 9   when Plaintiff resumes litigating this matter.

10
            DATED this 9th day of August, 2024.
11

12

13                                                    (7_A_ 4,-
                                                           John H. Chun
14
                                                           United States District Judge
15

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     ORDER - 2
     Cause No. 2:24-cv-00808-JHC
Case 2:24-cv-00808-JHC   Document 50   Filed 10/30/24   Page 27 of 105




 EXHIBIT B
         Case 2:24-cv-00808-JHC Document 50 Filed 10/30/24 Page 28 of 105
            Case 2:24-cv-00808-J HC Document 45 Filed 10/01/24 Page 1 of 1



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3


4


5                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
6                                          AT SEATTLE
7
     KURT A. BENSHOOF; A.R. W. by and through
     his father, KURT A. BENSHOOF,                              No. 2:24-cv-00808-JHC
8

                                   Plaintiffs,
9           V.
                                                                ORDER
10   MARSHALL FERGUSON, J. DOE, BLAER
     RUSS. JESSICA SKELTON, MICHAEL
11   TRACY, SARAH TURNER. JAMAL
     WHITEHEAD,
12
                                   Defendants.
13


14          Before the Court is Plaintiffs’ motion for a stay. Dkt. # 41. The Court has considered the

15
     materials filed in support of and in opposition to the motion, the rest of the file, and the governing

16   law. Being fully advised, for the reasons presented by Defendants at Dkt. ## 42 and 43, the Court

17 }I DENIES the motion.

18
            DATED this 1 st day of October, 2024.
19


20
                                                    IF
                                                         'dl                    al
21                                                   UNITED STATES DISTRICT JUDGE

22


23




     ORDER - 1
     2:24-CV-O0808-JHC
Case 2:24-cv-00808-JHC   Document 50   Filed 10/30/24   Page 29 of 105




            EXHIBIT C
         Case 2:24-cv-00808-JHC Document 50 Filed 10/30/24 Page 30 of 105
           Case 2:24-cv-00808-JHC Document 48 Filed 10/07/24 Page 1 of 1




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 5
                                UNITED STATES DISTRICT COURT
 6                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 7

 8
      KURT BENSHOOF,                                  CASE NO. 2:24-cv-00808-JHC

                                                      ORDER
 9
                        Plaintiff,
10
             V.

11
      MARSHALL FERGUSON; J DOE: BLAIR
      M RUSS: JESSICA SKELTON: MICHAEL
12
      TRACY: SARAH TURNER: JAMAL
13
      WHITEHEAD,

14
                      Defendants.

15

16
            Before the Court is Plaintiffs second request for a stay. Dkt. # 46. For the reasons
17
     presented by Defendant Marshall Ferguson, Dkt. # 47, the Court DENIES the request.
18
            Dated this 7th day of October, 2024.
19


20

21                                                       United States District Judge

22


23

24



     ORDER - 1
Case 2:24-cv-00808-JHC   Document 50   Filed 10/30/24   Page 31 of 105




            EXHIBIT D
              Case 2:24-cv-00808-JHC          Document 50    Filed 10/30/24   Page 32 of 105
Case Number: 24-1-02680-7
Date:         October 28, 2024
Serial ID:    24-617726-6832074Z2B
Certified By: Catherine Cornwall
              King County Clerk, Washington          FILED
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                                                  KING COUNTY
                                              SUPERIOR COURT CLERK

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Case 2:24-cv-00808-JHC   Document 50   Filed 10/30/24   Page 33 of 105
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Case 2:24-cv-00808-JHC   Document 50   Filed 10/30/24   Page 35 of 105
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Case 2:24-cv-00808-JHC   Document 50   Filed 10/30/24   Page 37 of 105
Case 2:24-cv-00808-JHC   Document 50   Filed 10/30/24   Page 38 of 105
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